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JUDICIAL PANEL ON
L2 17 9 MULTIDISTRICT LITIGATION
MAY ~ 6 2010
FILED
GLERK'S OFFICE

BEFORE THE JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION

| MDL DOCKET NO.-
In Re: Gulf of Mexico Oil Contamination:
MOTION OF PLAINTIFFS FOR TRANSFER OF ACTIONS TO THE EASTERN

DISTRICT OF LOUISIANA PURSUANT TO US 28 U.S.C. §1407 FOR COORDINATED
OR CONSOLIDATED PRETRIAL PROCEEDINGS

Daniel E. Becnel, Jr. _ ot
Matthew Moreland bo
Salvadore Christina, Jr. ;
Becnel Law Firm

P.O. Drawer H mS
106 West 7" Street 4
Reserve, LA 70084 ~

a)
Pursuant to 28 U.S.C. §1407 and Rule 7.2 of the Rules of Procedure of the Judicial Patel

on MultiDistrict Litigation, | plaintiffs in the action captioned Acy J. Cooper and Ronnie Louis
Anderson, individually and on behalf of themselves and all other similarly situated, Plaintiffs, v.
BP, plc, BP Products North America, Inc., BP America, Transocean, Ltd., Transocean Offshore
Deepwater Drilling, Inc., Transocean Deepwater, Inc., , Inc. Halliburton Energy Services, Inc.,
and Cameron International Corporation f/k/a Cooper-Cameron Corporation, any and all
additional related actions that may be brought to the attention of the Panel against similar
defendants, to the United States District Court for the Eastern District of Louisiana before the
Honorable Judge Ivan L.R.|Lemelle.

As set forth below and in the accompanying Memorandum, Movants believe the actions
listed on the accompanying Schedule of Actions (attached as Exhibit “A” to Plaintiffs’

Memorandum of Law in Support of Motion for Transfer and Coordination or Consolidation

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under 28 U.S.C. §1407) satisfy the requirements for consolidation and coordination because they
concern common questions of fact and law and consolidation or coordination will serve the

interest of efficiency and convenience.

In support of this Motion, Movants state as follows:
Movants are'the named plaintiffs in the following action:

Acy J. Cooper and Ronnie Louis Anderson, individually and on behalf of
themselves and all other similarly situated Plaintiffs, v. BP, plc, BP
Products North America, Inc., BP America, Inc., Transocean, Ltd.,
Transocean Offshore Deepwater Drilling, Inc., Transocean Deepwater,
Inc., Halliburton Energy Services, Inc., and Cameron International
Corporation f/k/a Cooper-Cameron Corporation,

Movants bring this action against defendants based on the defendants’ design,
maintenance, and use of products and devices that allowed the contamination of the Gulf of
Mexico, its adjoining coastal and marine environments, and subsequent damages to the marine

industry.

Counsel for Movants are aware of the following other federal action containing virtually
identical allegations and seeking similar relief against similar defendants. See Schedule of

Actions.

For the foregoing reasons, Movants respectfully move this Panel for an order transferring
all pending actions against defendants and any other additional related actions that may be
brought to the attention of the Panel, to the United States District Court for the Eastern District of
Louisiana before the Honorable Ivan L.R. Lemelle or, alternatively, Chief Judge Sarah S. Vance

or Honorable Mary Ann Vial Lemmon.
Case MDL No. 2179 Document1 Filed 05/06/10 Page 3 of 21

Date: April 30, 2010 Respectfully submitted,

s/ Daniel E. Becnel, Jr.
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BEFORE THE JUDICAL PANEL ON
MULTIDISTRICT LITIGATION

MDL DOCKET NO.

In re: Gulf of Mexico Oil Contamination:

BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR TRANSFER OF ACTIONS
PURSUANT TO 28 U.S.C. § 1407

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I.
INTRODUCTION

Pursuant to 28 U.S.C. § and Rule 7.2 of the Rules of Procedure of the Judicial Pariel on
Multidistrict Litigation, plaintiffs in the action captioned Acy J. Cooper and Ronnie Louis
Anderson, individually and on behalf of themselves and all other similarly situated, Plaintiffs, v.
BP, ple, BP Products North America, Inc., BP America, Transocean, Ltd., Transocean Offshore
Deepwater Drilling, Inc., Transocean Deepwater, Inc., , Inc. Halliburton Energy Services, Inc.,

and Cameron International) Corporation f/k/a Cooper-Cameron Corporation respectfully submit

this Brief in Support of Plaintiffs’ Motion for Transfer of Actions Pursuant to 28 U.S.C. § 1407.

Acy J. Cooper and Ronnie Louis Anderson, all individually and on behalf of all other
similarly situated Plaintiffs, v. Transocean, Ltd., Transocean Offshore Deepwater Drilling, Inc.,
Transocean Deepwater, Inc., BP, plc, BP Products North America, Inc., BP America, Inc.
Halliburton Energy Services, Inc., and Cameron International Corporation f/k/a Cooper-Cameron

Corporation and the other related actions listed in the accompanying Schedule of Actions were
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filed against the defendants based on the defendants’ design, maintenance, and use of products
and devices that allowed the contamination of the Gulf of Mexico, it’s adjoining coastal and
marine environments, and subsequent damages to the marine industry. The legal theories and
facts asserted in all of thos actions are virtually identical and arise from the common conduct of
the defendants in designing, manufacturing, selling, and putting into the stream of commerce
their defective products.
i.
SUMMARY OF THE CASE

Plaintiffs brought actions against the manufacturers/owners of the Deep Horizon Oil Rig
which polluted the Gulf of Mexico and the ecosystems surrounding said gulf. Plaintiffs allege
that defendants based on the defendants’ design, maintenance, and use of products and devices
allowed for the contamination of the Gulf of Mexico, it adjoining coastal and marine
environments, and subsequent damages to the marine industry.

The defen — in this case include the owners/operators of the Deepwater
Horizon, holders of a lease granted by the Minerals Management Service that allows BP to drill
for oil and perform oil-production-related operations at the site of the oil spill, manufacturer or
supplier of the “blow-out preventer” which failed, and the cement operations of the well and well
cap.

The contamination came from an oil spill that resulted from the explosion and fire
aboard, and subsequent sinking of the oil rig, Deepwater Horizon, on April 20, 2010, at about
10:00 p.m. central time on the outer Continental Shelf, approximately fifty (50) miles off the
Louisiana coast. Following the sinking of the Oil Rig, approximately 5,000 barrels per day of

crude oil have been leaking from the oil well upon which the Deepwater Horizon was
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performing completion operations and from the pipe connected to it (drill stack). The fast-
moving oil slick, which has grown to 100 miles long by 45 miles wide, is headed towards the
Louisiana, Mississippi and Alabama coast and has already caused detrimental effects upon the
Gulf of Mexico’s and Louisiana’s marine environments, coastal environments and estuarine
areas, which are used by Plaintiffs and the Class Members for different activities, including
fishing and earning a livelihood.

Several cases have been filed regarding this problem and others are likely to be filed

requiring consolidation pursuant to § 28 U.S.C. § 1407.

Il.

PENDING ACTIONS

There are other related actions filed in the federal courts. There may be other pending

federal actions of which Movants are unaware. Movants expect additional cases to soon be filed.

Pursuant to Panel Rule 7.5(e) regarding notice of “tag-along” actions, these actions should also
|

be transferable.

IV.
TRANSFER TO ONE DISTRICT FOR COORDINATED OR CONSOLIDATED
PRETRIAL PROCEEDINGS WILL PROMOTE §1407’S GOALS OF INSURING
THE JUST AND EFFICIENT CONDUCT OF THE ACTIONS, AND AVOIDING
INCONSISTENT OR CONFLICTING SUBSTANTIVE AND PROCEDURAL
DETERMINATIONS

Pursuant to 28 UJS.C. § 1407 (a) the above actions should be coordinated and
Consolidated. 28 U.S.C. § (a) provides, in relevant part:
When civil actions involving one or more common questions for
fact are pending in different districts, such actions may be transferred to

any district for coordinated or consolidated pretrial proceedings. Such
transfers "| be made by the judicial panel on the Multidistrict litigation

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authorized by this section upon its determination that transfers for such
proceedings |will be for the convenience of parties and witnesses and will
promote the just and efficient conduct of such actions.

The transfer of actions to a single forum under §1407 is appropriate where, as here, it will
prevent duplication of discovery and eliminate the possibility of overlapping or inconsistent
pleading determinations by courts of coordinate jurisdictions. In re Litig. Arising from
Termination of Retirement| Plan for Employees of Firearm’s Fund Ins. Co., 422 F. Supp. 287,
290 (J.P.M.L. 1976); In re LTV Corp. Sec. Litig., 470 F.Supp. 859, 862 (J.P.M.L. 1979).

The litmus test of transferability and coordination under § 1407 is the presence of
common questions of fact, In re Fed. Election Campaign Act Litig., 511 F.Supp. 821, 823
(J.P.M.L. 1979). Common questions are presumed “where two or more complaints assert
comparable assert comparable allegations against identical defendants based on similar
transactions and events.” In re Air West, Inc., Securities Litig., 384 F.Supp. 609, 611 (J.P.M.L.
1974); See also In re Cuisinart Food Processor Antitrust litig.,, 506 F.Supp. 651, 654-655
(J.P.M.L 1981). The trangfer of actions to a single forum under §1407 is appropriate where, as
here, it will prevent duplication of discovery and eliminate the possibility of overlapping or
inconsistent pleading determinations by courts of coordinate jurisdictions. In re Silicone Breast
Implants Product Liability Litig. 793 F.Supp. 1098, 1100 (J.P.M.L. 1992). (The Multidistrict
panel found that common questions exist as long as the difference manufacturers all designed
similar defective products). See, also In re Humana Inc. Managed Care Litig., 2000 WL
1952080, * 3(J.P.M.L. August 4, 1994) (common questions of law and fact existed even when
defendants included different health care insurers.); In re Orthopedic Bone Screw Products
Liability Litig., (MDL 1014) (J.P.MLL. August 4, 1992); and Jn Re Phenylpropanolamine (PPA)

Products Liability Litigation, at p.2 (MDL 1407) (J.P.M.L. 2001).
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A.
THE PANEL SHOULD TRANSFER THESE CASES TO
THE EASTERN DISTRICT OF LOUISIANA

1.
THE EASTERN DISTRICT OF LOUISIANA IS CONVENIENT FOR ALL PARTIES

The United States District Court for the Eastern District of Louisiana is a particularly
convenient forum for litigation after consolidation of these actions. In In re Worldcom, Inc.

Securities & “ERISA” Litig., 226 F.Supp. 2d 1352 (J.P.M.L. 2002), this panel consolidated

several actions and transferred the consolidated action to the nearby Southern District of New
|
York, noting, in particular, that “a litigation of this scope will benefit from centralization in a
major metropolitan center that is well served by major airlines, provides ample hotel and office
accommodations, and offers a well-developed support system for legal services.” Jd. At 1355;
See also, In re Jamster Mitg. Litig., 427 F.Supp. 2d 1366, 1368 (J.P.M.L. 2006) (choosing as a
transfer forum an “accessible metropolitan location”). These considerations of convenience
apply with full force to the United States District Court for the Eastern District of Louisiana’s
New Orleans courthouse. The courthouse is 12 miles from New Orleans International Airport.
New Orleans is easily accessible by plane. Accordingly, convenience weighs in favor of
transferring and consolidating these actions in the United States District Court for the Eastern
District of Louisiana.
a
THE HONORABLE JUDGE IVAN L.R. LEMELLE, HONORABLE CHIEF JUDGE

SARAH S. VANCE AND HONORABLE MARY ANN VIAL LEMMON ARE

EXPERIENCED JUDGES CAPABLE OF HANDLING THIS LITIGATION

The experience and ability of Judges Lemelle, Vance and Lemmon are other factors

which militate in favor of transferring these actions to the United States District Court for the

Eastern District of Louisiana. The availability of an experienced and capable judge weights in
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favor of transferring a case to that district. See e.g., In re Hawaiian Hotel Room Rate Antitrust
Litig., 438 F.Supp. 935, 936 (J.P.M.L. 1977); In re Sugar Indus. Antitrust Litig., 437 F.Supp.
1204, 1208 J.P.M.L. 1977); In re Ampicillin Antitrust Litig., 315 F.Supp. 317, 319 (J.P.MLL.
1970). The experience and knowledge of a particular judge is one of the factors that may be
considered in determining the appropriate transferee forum. See e.g., In re “Factor VIII or IX
Concentrate Blood Prod. Liab. Litig., 853 F.Supp. 454, 455 (J.P.M.L. 1993); In re Silicone Gel
Breast Implants Prods. Liab. Litig., 793 F.Supp. at 1101; In re Data General Corp. Antitrust
Litig., 470 F.Supp. 855, 859 (J.P.M.L. 1979).

Judge Ivan L.R. Lemelle is eminently qualified to preside over this litigation. Judge

Lemelle has served in the Eastern District of Louisiana as a federal Judge for 11 years and he has
had the distinction of presiding over In Re High Sulfur Content Gasoline Products Liability
Litigation, MDL No. 1632. In this matter, he brought the case to a final conclusion through
settlement and confirming administration of the settlement to bring the entire MDL No. 1632 toa
close. This case involved |complex testimony of several technical fuel quality and production
experts. Thus, Judge Lemelle is eminently qualified to preside over this litigation.

Chief Judge Sarah S. Vance is also eminently qualified for this MDL. In her over 14
years on the bench, she has successfully brought three MDLs to fruition. These include the
Educational Testing MDL and the Ford Paint Failure Case which also involved complicated
manufacturing issues. These cases were all brought to an expedient resolution showing that
Chief Judge Sarah S. Vance is more than amply qualified to handle this litigation. Thus, Chief
Judge Vance is also eminently qualified to preside over this litigation.

Honorable Judge Lemmon is also eminently qualified for this MDL. Judge Lemmon
currently has a case entitled Troy Wetzel, Extreme Fishing LLC, and a class of similar situated

Individuals and Entities v. Transocean BP, LLC, “A, B & C” Insurance Companies as Insurers of

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Transocean and “‘X, Y and Z” Insurance Companies as Insurers of BP, LLC. She has been on the
federal bench for 14 years and a sitting judge for 28 years. Judge Lemon has handled numerous

toxic tort and complex litigation throughout her judicial tenure. Thus, Judge Lemmon is also
eminently qualified to preside over this litigation.
3.
THE EASTERN ~ OF LOUISIANA IS WELL-SUITED TO HANDLE THIS
LITIGATION
The MDL Panel has concluded on several occasions that the United States District Court
for the Eastern District of Louisiana is an appropriate forum to hear complex litigation because
of its expertise in handling these matters. See MDL-2116 IN RE: Apple iPhone 3G and 3GS
“MMS” Marketing and Sales Practices Litigation; MDL-2047 IN RE: Chinese-Manufactured
Drywall Products Liability Litigation; MDL-1873 IN RE: FEMA Trailer Formaldehyde Products
Liability Litigation; MDL-1355 IN RE: Propulsid Products Liability Litigation; MDL-1657 IN
RE: Vioxx Marketing, sie Practices and Products Liability Litigation; MDL-1390 IN RE: Life
Insurance Co. of Georgia Iu Life Insurance Litigation; and MDL-1984 IN RE:
DirecTech Southwest, Inc., Fair Labor Standards Act (FLSA) to name just a few of the still
active MDLs in the Eastern District of Louisiana. Moreover, the Eastern District of Louisiana is
able to handle its docket efficiently.
V.
CONCLUSION
For the foregoing on and in light of the similar allegations regarding the defendants’
conduct, and the weeny of overlapping discovery and the potential for conflicting pretrial

rulings, Movants respectfully request that this Panel order that the related actions be centralized

and transferred to the United States District Court for the Eastern District of Louisiana pursuant
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to 28 U.S.C. §1407 before Judge Ivan L.R. Lemelle, and that all related individual or class

actions be transferred thereto as “tag along actions.”

Date: April 30, 2010 Respectfully submitted,

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Before the Judicial Panel on Multidistrict Litigation
MDL- -In re Defective Gas Pedal Litigation

REVISED SCHEDULE OF ACTIONS

_,, UDICIAL PANEL ON
MULTIDISTRICT LITIGATION

MAY ~6 2010

___ FILED
CLERK'S OFFICE

Case Captions

Court

Civil Action
No.

Judge

Plaintiffs:
Acy J. Cooper Jr., and Ronnie Louis
Anderson, all individually|and on behalf of
all other similarly situated Plaintiffs
Defendants: |

BP, plc, BP Products North America, Inc.,
BP America, Inc., Transocean, LTD.,
Transocean Offshore Deepwater Drilling,
Inc., Transocean Deepwater Inc.,
Halliburton Energy Services, Inc and
Cameron International Corporation

f/k/a Cooper Cameron Corporation

E.D. LA.

10-1229

Kurt D. Englehardt

Plaintiffs:

Troy Wetzel, Extreme Fishing LLC, and a
class of similar situated Individuals and
Entities
Defendants:
Transocean BP, LLC, “A,/B & C”
Insurance Companies as Insurers of
Transocean and “X, Y and Z” Insurance
Companies as Insurers of BP, LLC

E.D. LA.

10-1222

Mary Ann
Lemmon

Plaintiffs:

James F, Mason, Jr., and individually and
on behalf of K & J, Inc.

Defendants:

Transocean, LTD., BP, PLC,
Transocean, LTD, (Transocean Entity),
Transocean Offshore Deepwater Drilling,
Inc., (Transocean Entity), Transocean
Deepwater Inc., (Transocean Entity),

BP Products North Ameriea, Inc.,
Halliburton Energy Services, Inc.,
Cameron International Corporation, and
BP America, Inc.,

S.D. AL.

10-191

Callie V.S.
Granade

Case MDL No. 2179 Document1 Filed 05/06/10 Page 13 of 21

Plaintiffs: E.D, LA 10-1156 Ivan L.R. Lemelle
Shane Roshto and Natalie Roshto

Defendants:

TRANSCOEAN, LTD and BP, PLC

Plaintiffs: | E.D. LA 10-1196 Ivan L.R. Lemelle

Michelle M. Jones, Individually and as
Personal Representative of her Minor Son,
Stafford Hess Jones

Defendants:

TRANSOCEAN, LTD.; BP, PLC; ABC
INSURANCE COMPANY AND DEF

INSURANCE COMPANY

Plaintiffs: W.D.LA_ | 10-cv-00727 Tucker L.
Ellis Schouest, III and Melancon
James Joseph George, Jr

Defendants:

BP Products North America INC,; BP
America, INC.; B P, plc; Transocean LTD;
Transocean Offshore Deepwater Drilling,
Inc.; Transocean Deepwater, Inc.;
Cameron International Corporation and
Halliburton Energy Services, Inc.

Date: April 30, 2010 Respectfully submitted,
a, C—
+ 5 2 ce

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REVISED CERTIFICATE OF SERVICE

JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION

MAY ~6 2010

FILED
CLERK'S OFFICE

[hereby certify that I caused a true and correct copy of Plaintiff's Motion for Transfer
and Coordination or Consolidation under 28 U.S.C. § 1407 to be served this 4h Day of May,
2010 by U.S. mail, postage prepaid, upon the following and on February 3, 2010 Plaintiff's
Revised Motion for Transfer and Coordination or Consolidation under 28 U.S.C. § 1407 in the

same manner:

Clerk of Court, Southern District of Alabama

United States Courthouse
113 Saint Joseph St.
Mobile, AL 36602

Honorable Judge Callie V.S. Granade
US. District Court

Southern District of Alabama

113 Saint Joseph St.

Mobile, AL 36602

Clerk of Court

United States Courthouse

500 Poydras Street, Room C-151
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Honorable Ivan L.R. Lemelle
United States District Judge

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Honorable Kurt D. Englehardt
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Honorable Chief Judge Sarah S. Vance
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Case MDL No. 2179 Document1 Filed 05/06/10

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Western District of Louisiana

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Page 15 of 21
Case MDL No. 2179 Document 1 Filed 05/06/10

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Page 16 of 21
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Page 17 of 21
Case MDL NO. 2179 Document1 Filed 05/06/10 Page 18 of 21

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JoJo's Seafood Inc and Billy B Inc

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Counsel for Movant:

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BP America

C T Corporation System

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Baton Rouge, LA 70808

BP Products North America, Inc.

The Prentice Hall Corporation System, Inc
320 Somerulos Street

Baton Rouge, LA 70802

BP PLC
501 Westlake Park Boulevard
Houston TX 77079

Cameron International Corporation
C T Corporation System

5616 Corporate Blvd. Ste, 400B
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